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                             United States District Court
                                       for the
                             Southern District of Florida

  Aligned Bayshore Holdings, LLC,         )
  Plaintiff,                              )
                                          )
  v.                                      ) Civil Action No. 18-21692-Civ-Scola
                                          )
  Westchester Surplus Lines               )
  Insurance Company, Defendant.           )
               Scheduling Order And Order Of Referral To Mediation
        The parties’ joint discovery plan and conference report (ECF No. 28)
  indicates that the parties disagree about which track this case should be set
  on. Plaintiff Aligned Bayshore Holdings, LLC, requests that this case be set on
  the expedited track, whereas Defendant Westchester Surplus Lines Insurance
  Company requests that this case be set on the standard track. The Court is
  unpersuaded that this case should be set on an expedited track given the
  nature of the claims asserted by the Plaintiff. Accordingly, the Court sets this
  case on the standard track.
        This action is set for trial during the two-week trial period beginning on
  August 5, 2019. Calendar call will be held at 9:00 a.m. on the preceding
  Tuesday, July 30, 2019 at the Wilkie D. Ferguson, Jr. United States
  Courthouse, 400 N. Miami Avenue, Courtroom 12-3, Miami, Florida. A pretrial
  conference will be held immediately following calendar call only if requested by
  the parties in advance.
     1. The parties must comply with the following schedule:
       September 17, 2018   Deadline to join additional parties or to amend pleadings.

       November 20, 2018    Deadline to file joint interim status report.

                            Deadline to file Proposed Order Scheduling Mediation,
                            setting forth the name of the mediator, and the date, time,
        February 5, 2019    and location of the mediation, consistent with the Order of
                            Referral to Mediation (which immediately follows this
                            scheduling order).

                            Deadline to complete all fact discovery.
        March 19, 2019      Deadline to submit joint notice indicating whether the
                            parties consent to jurisdiction before the designated
                            magistrate judge for purposes of final disposition.
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                          Deadline to exchange expert witness summaries/reports
                          pursuant to Federal Rule of Civil Procedure 26(a)(2).
                          Rebuttal disclosures are permitted, and must conform to
                          the deadline set forth in Federal Rule of Civil Procedure
                          26(a)(2)(D)(ii).
                          (When a treating physician testifies regarding opinions formed
                          and based upon observations made during the course of
                          treatment, the treating physician need not produce a Rule
                          26(a)(2)(B) report. By contrast, treating physicians offering
                          opinions beyond those arising from treatment are experts from
                          whom full Rule 26(a)(2)(B) reports are required. See, Muzaffarr v.
                          Ross Dress for Less, Inc., No. 12-61996-CIV, 2013 WL 3850848,
                          at *1 (S.D. Fla. July 26, 2013).)

       April 2, 2019      Deadline for the filing of all dispositive motions.

                          Deadline to complete mediation, consistent with the Order
      April 16, 2019      of Referral to Mediation (which immediately follows this
                          scheduling order).

       May 21, 2019       Deadline to complete all expert discovery.

                          Deadline for the filing of pretrial motions, including
       June 4, 2019
                          motions in limine and Daubert motions.

                          Deadline to file joint pretrial stipulation under Local Rule
       July 8, 2019       16.1(e) and pretrial disclosures as required by Federal Rule
                          of Civil Procedure 26(a)(3).

                          Deadline to file proposed jury instructions (if the matter is
                          set for a jury trial) or proposed findings of fact and
       July 22, 2019
                          conclusions of law (if the matter is set for a bench trial)
                          consistent with Local Rule 16.1(k).

     2. Interim Joint Status Report. The parties are required to submit an
  interim joint status report addressing the following issues:
       a) Have all defendants been served? If not, state the reasons.
      b) Have all defendants responded to the complaint? If not, state the
         reasons.
      c) If this is a class action, has a motion for class certification been
         filed? If so, what is its status?
      d) Have the parties agreed on and selected a mediator? Have the
         parties agreed upon a place, date, and time for mediation?
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      e) Have the parties engaged in informal settlement negotiations? If
         not, explain the reasons for the failure to do so. If yes, state the
         status of such negotiations (e.g., ongoing, impasse, etc.) and the
         relative prospects for resolution through informal means.
      f) Describe the status of discovery conducted to date, and identify
         whether the parties reasonably believe that they will be able to
         complete discovery by the Court’s deadline. If not, explain the
         reasons.
      g) Identify any other issues that the Court should be aware of that
         may affect the resolution of this matter or the schedule as
         currently set.
      3. References to documents in summary-judgment motions. When a party
  files a motion for summary judgment, the party must include the ECF number
  of any exhibits or other documents referred to in the motion or the
  accompanying statement of material facts (required by Local Rule 56.1). This
  means that if a document is not already on the record, a party will need to
  submit a Notice of Filing before he or she files the summary-judgment motion
  and the statement of material facts.
      4. Limit on motions in limine & Daubert motions. Each party is limited to
  filing one motion in limine and one Daubert motion. If a party cannot address
  his or her evidentiary issues or expert challenges in a 20-page motion, leave to
  exceed the page limitation will be granted upon a showing of good cause. The
  parties are reminded that motions in limine and Daubert motions must contain
  the Local Rule 7.1(a)(3) pre-filing conference and certification.
     5. Jury Instructions. The parties must submit their proposed jury
  instructions jointly, though they need not agree on each proposed instruction.
  Where both parties agree on a proposed instruction, that instruction must be
  set out in regular typeface. Instructions proposed only by a plaintiff must be
  underlined. Instructions proposed only by a defendant must be bold-faced.
  Every instruction must be supported by a citation of authority. The parties
  should use as a guide the Eleventh Circuit Pattern Jury Instructions for Civil
  Cases, including the directions to counsel, or the applicable state pattern jury
  instructions. The parties must jointly file their proposed jury instructions via
  CM/ECF, and must also submit their proposed jury instructions to the Court
  via e-mail at scola@flsd.uscourts.gov in Word format (.doc).
    6. Trial Exhibits. All trial exhibits must be pre-marked. Plaintiff’s exhibits
  must be marked numerically with the letter “P” as a prefix. Defendant’s
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  exhibits must be marked alphabetically with the letter “D” as a prefix. A list
  setting out all exhibits must be submitted at the time of trial. This list must
  indicate the pre-marked identification label (e.g., P-1, or D-A) and must also
  include a brief description of the exhibit.
     7. Deposition Designations. Any party intending to use deposition
  testimony as substantive evidence must designate by line and page reference
  those portions in writing. The designations must be served on opposing counsel
  and filed with the Court 14 days before the deadline to file the joint pretrial
  stipulation. The adverse party must serve and file any objections and any
  cross-designations within seven days. The initial party then has seven days to
  serve and file objections to the cross-designations.
     8. Voir Dire Questions. The Court will require each prospective juror to
  complete a brief written questionnaire prior to the commencement of
  questioning in the courtroom. Any party may submit up to five proposed, case-
  specific questions to be included in the questionnaire. The proposed questions
  must be filed with the Court at the time of the filing of the joint pretrial
  stipulation, and must also be submitted to the Court via e-mail at
  scola@flsd.uscourts.gov in Word format (.doc).
     9. Notification of juror misconduct. Every party has an affirmative duty to
  notify the Court immediately of any possible juror misconduct or any
  information that might possibly reflect on a juror’s ability to serve. Immediate
  notification is required to allow the Court the opportunity to address the issue,
  including questioning the juror and, if necessary, discharging the juror and
  seating an alternate juror. In any trial lasting more than five days, the Court
  imposes an affirmative duty on both sides to conduct all reasonable
  investigations of juror misconduct, including statements provided during voir
  dire, and to advise the Court immediately of any discovered misconduct. Any
  party who fails to conduct a reasonable investigation in this situation and later
  discovers an incidence of juror misconduct has waived his, her, or its right to
  rely on that misconduct in a motion before this Court.
     10.       Settlement Conference Before Magistrate Judge. The parties may,
  at any time, file a motion requesting a settlement conference before United
  States Magistrate Judge Edwin G. Torres. The Court encourages the parties to
  consider a confidential settlement conference with Judge Torres, especially if
  the parties believe there is a meaningful chance of reaching an early, amicable
  resolution of their dispute.
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     11.       Settlement Notification. If this matter is settled, counsel are
  directed to inform the Court promptly via telephone (305-523-5140) and/or e-
  mail (scola@flsd.uscourts.gov).
        Done and ordered at Miami, Florida on August 22, 2018.

                                          ________________________________
                                          Robert N. Scola, Jr.
                                          United States District Judge

              [Order of Referral to Mediation on following page]
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                            United States District Court
                                      for the
                            Southern District of Florida

  Aligned Bayshore Holdings, LLC,        )
  Plaintiff,                             )
                                         )
  v.                                     ) Civil Action No. 18-21692-Civ-Scola
                                         )
  Westchester Surplus Lines              )
  Insurance Company, Defendant.          )

                          Order Of Referral To Mediation
         Trial having been set in this matter, pursuant to Federal Rule of Civil
  Procedure 16 and Local Rule 16.2, it is ordered and adjudged as follows:
      1. All parties are required to participate in mediation. The parties must
  conduct their mediation no later than the deadline set out in the Court’s
  Scheduling Order.
      2. The Court designates Plaintiff’s counsel as lead counsel for purposes of
  this mediation order. Upon written agreement by all counsel of record and any
  unrepresented parties, the parties may designate a different attorney to be lead
  counsel for purposes of this mediation order. Lead counsel is responsible for
  scheduling the mediation conference.
      3. The parties are encouraged to avail themselves of the services of any
  mediator on the List of Certified Mediators, maintained in the office of the Clerk
  of the Court, but may select any other mediator. The parties must agree upon a
  mediator within 60 days from the date of this Order. If there is no agreement,
  lead counsel must promptly notify the Clerk of the Court in writing and the
  Clerk of the Court will designate a mediator from the List of Certified
  Mediators. That designation will be made on a blind rotation basis.
      4. A place, date, and time for mediation convenient to the mediator, counsel
  of record, and unrepresented parties must be established no later than the
  deadline in the Scheduling Order. Lead counsel must complete the attached
  form Order Scheduling Mediation and submit it to the Court. The parties must
  agree on a place, date, and time for mediation and lead counsel must
  submit the proposed order scheduling mediation, no later than the
  deadline set forth in the Scheduling Order.
      5. Pursuant to Local Rule 16.2(e), the appearance of counsel and each party
  or representatives of each party with full authority to enter into a full and
  complete compromise and settlement is mandatory. If insurance is involved, an
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  adjuster with authority up to the policy limits or the most recent demand,
  whichever is lower, must attend.
      6. All proceedings of the mediation will be confidential and privileged.
      7. At least 14 days prior to the mediation date, each party must present to
  the mediator a confidential brief written summary of the case identifying issues
  to be resolved. The mediator is authorized to grant extensions of time up to the
  mediation for the parties to file their mediation statements.
      8. The Court may impose sanctions against parties and/or counsel who do
  not comply with the attendance or settlement authority requirements in this
  Order, or who otherwise violate the terms of this Order. The mediator must
  report non-attendance and may recommend imposition of sanctions by the
  Court for non-attendance.
      9. The mediator must be compensated in accordance with the standing
  order of the Court entered pursuant to Local Rule 16.2(b)(6), or on such basis
  as may be agreed to in writing by the parties and the mediator selected by the
  parties. The cost of mediation must be shared equally by the parties unless
  otherwise ordered by the Court. All payments must be remitted to the mediator
  within 45 days of the date of the bill. Notice to the mediator of cancellation or
  settlement prior to the scheduled mediation conference must be given at least
  three full business days in advance. Failure to do so will result in imposition of
  a fee for two hours of mediation.
      10.       If a full or partial settlement is reached in this case, counsel must
  promptly notify the Court of the settlement in accordance with Local Rule
  16.2(f), by the filing of a notice of settlement signed by counsel of record within
  14 days of the mediation conference. Thereafter the parties must promptly
  submit an appropriate pleading concluding the case.
      11.       Within seven days following the mediation conference, the
  mediator must file a Mediation Report indicating whether all required parties
  were present. The report must also indicate whether the case settled (in full or
  in part), was adjourned, or whether the mediator declared an impasse. If the
  mediator fails to file a Mediation Report within seven days following the
  mediation conference, lead counsel must file a Mediation Report within
  14 days after the mediation conference.
      12.       If mediation is not conducted, the case may be stricken from the
  trial calendar, and other sanctions may be imposed.
         Done and ordered at Miami, Florida on August 22, 2018.


                                                            f
                                              _____________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                              Robert N. Scola, Jr.
                                              United States District Judge
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             Attachment “A” to the Order Of Referral To Mediation:
                      Form Order Scheduling Mediation


                             United States District Court
                                       for the
                             Southern District of Florida

  _______________________, Plaintiff     )
                                         )
  v.                                     )   Civil Action No. __________-Civ-Scola
                                         )
  _______________________, Defendant     )

                            Order Scheduling Mediation

        The parties will hold the mediation conference in this matter before
  (mediator) on (date) .at (time) .at (location) . The mediator and the parties
  have agreed to this date. The parties may not reschedule the mediation without
  leave of the Court.

        Done and ordered in chambers, at Miami, Florida, on _________________.

                                              ________________________________
                                              Robert N. Scola, Jr.
                                              United States District Judge
